 

 

Case 1:22-cv-01575-VMC Document 20 Filed 11/07/22 Page 1 of 30

IN THE UNITED STATES DISTRICT EF MGaasOFCE CO

NORTHERN DISTRICT OF GEORGIA ~ vs... -Atanta

   
 

   

 

 

 

ATLANTA DIVISION
DANIEL JACK, NOV 07 2022
Plaintiff,
V. t VY
SELECT PORTFOLIO SERVICING, | CIVIL ACTION ¥
INC., and U.S. Bank National FILE NO: 1:22-cv-01575

Association, as Trustee for Towd Point
Master Funding Trust 2020-PM2.
Defendants.

 

PLAINTIFF’S FIRST AMENDED COMPLAINT

1. Plaintiff, Daniel Jack, prose, hereby files this, Plaintiff's First Amended
Complaint, and alleges, claims and complains against the Defendants, Select
Servicing Portfolio Inc (hereinafter SPS) and U.S. Bank National Association, as
Trustee for Towd Point Master Funding Trust 2020-PM2 (hereinafter Trustee) as
follows:

JURISDICTION AND VENUE

2. Jurisdiction in this Court is proper based on diversity of citizenship,
pursuant to 28 U.S.C. § 1332 in that the amount of the property that is subject of this
Complaint exceeds $75,000.00. This Court also has supplemental jurisdiction over
Plaintiff's state law claims pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(a)Q2)

and (b)(2) in that the residential property that is the subject of this action is situated

 
 

 

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in this district and a substantial part of the events giving rise to the Complaint
occurred therein.

THE PARTIES

4. Plaintiff, Daniel Jack, along with his wife Rosa Jack are the current owners
of record of the residential real property identified herein infra.
5. Defendant, Select Servicing Portfolio is a foreign corporation doing
business in Dekalb County, Georgia, having its principal address as: 3217 S Deker
Lake Drive, Salt lake City, Utah 84119 and can be served at its listed agent:
Corporation Service Company, 2 Sun Court, Suite 400 Peachtree Corners, Georgia

30092 and is and was at all times material hereto.

6. Defendant, U.S. Bank National Association, as Trustee for Towd Pomt
Master Funding Trust 2020-PM2, whose address is: 900 Third Avenue, 5" Floor, New
York, New York 10022, and does not havea listed agent in Georgia and is not registered
with the Secretary of the State of Georgia. Defendant will be served at the above-listed

address.

The residential real property that is the subject of this action (the “Property”) is
located at: 1185 To Lani Drive, Stone Mountain, GA 30083 and is legally
described as:

ALL THAT CERTAIN PROPERTY SITUATED IN THE CITY OF STONE
MOUNTAIN, IN THE COUNTY OF DEKALB AND STATE OF GEORGIA,
AND BEING DESCRIBED IN A DEED DATED 3/29/2006 IN BOOK 18555,
PAGE 51 AMOUNG THE LAND RECORDS OF THE COUNTY SET FORTH
ABOVE REFERENCED AS FOLLOWS: LANDLOT 223, DISTRICT 15, 5.459
ACRES, TRACT B PARCEL ID NUMBER: 1522301385.

 
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FACTS
7. Plaintiffs claims arise out of conduct related to a residential mortgage loan

transaction.

8. On or about July 24, 2006, Plaintiff incurred a financial obligation when
the Plaintiffand his wife purchased their home. The purchase amount of the home

was $243,167.50.

9. The loan was evidenced by a “Deed To Secure Debt,” naming Wachovia
Bank, National Bank Association, as the “Lender”. A copy of the “Deed To

Secure Debt” is attached hereto as Exhibit “A” respectively.

10. On or about October 3, 2008, Wachovia Bank, National Bank Association,

was absorbed by Wells Fargo Bank via acquisition.

11. Plaintiff's “Deed To Secure Debt” became the asset of Wells Fargo by

virtue of the October 3, 2008 acquisition of Wachovia Bank.

12. On or about March, 2020, Wells Fargo Bank sold Plaintiff's “Deed To
Secure Debt” via “Corporate Assignment of Security Deed” to U.S. Bank Trust
National Association, as Trustee for TOWD Point Master Funding Trust 2020-PM2,

The Trust. See Exhibit “B”, respectively.

 
 

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13. The Defendant Trust sent Plaintiff the Notification of Assignment, Sale or
Transfer of Mortgage Loan, clearly advising Plaintiff that all payments where to be
sent to the servicer and that the servicer had authority to act on behalf of the
Defendant Trust with regard to the administration of Plaintiff s mortgage. The notice
also advised the Plaintiff that the Servicer “may accept payments that are less than

the full amount due (partial payment) and apply them to Plaintiff's loan. See Exhibit

“B”, respectively.

14. The above-mentioned Assignment, Sale or Transfer of Mortgage Loan

identified Wells Fargo, at that time, as the Servicer of Plaintiff s loan account.

15. Some time thereafter, Defendant SPS became the Servicer for the

Defendant Trust of Plaintiff's loan account.

16. Upon information and belief, the Defendant Trust granted to Defendant
SPS the same authority, that the Trust granted to Wells Fargo as Servicer of the

Plaintiff’ s loan account.

17. On or September 25, 2021, Plaintiff contacted Defendant Select Servicing
Portfolio and requested the payoff to Plaintiff's Loan Account. The payoff
balance, according to Defendant’s September 25, 2021 statement to Plaintiff,

was $200,000.00. See Exhibit “C”, respectively.

18. On or about November 29, 2021, the Plaintiffreceived a billing statement

from Defendant SPS that had an additional $10,376.57 in unexplained fees that

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were added to Plaintiff's loan account. The unexplained fees are under the
Heading “Account Information” and are identified as “Other Charges and Fees.”

See Exhibit “D”, respectively.

19. On or about the same date, November 29, 2021, the Plaintiff called
Defendant SPS for an explanation concerning the above mentioned additional

$10,376.57 in unexplained fees.

20. Defendant SPS’s Representative could not give Plaintiff a logical or

satisfactory explanation for the additional $10,376.57 in unexplained fees.

21. Defendant SPS’s Representative advised Plaintiff that a supervisor would

call Plaintiffand explain to Plaintiff the additional $10,376.57 in unexplained fees.

22. No Supervisor or anyone from Defendant SPS called Plaintiff and
explained the additional $10,376.57 in unexplained fees that are on Plaintiff's

November 2021 Billing Statement.

23. Upon information and belief, the Plaintiffs call was on a recorded line
with Defendant SPS Representative when Plaintiff called and disputed the accuracy

of his loan account on November 29, 2021.

24. On or about December 1, 2021, after no supervisor or anyone from
Defendant SPS called the Plaintiff, Plaintiff sent a certified letter to Defendant SPS

disputing the loan amount reflected in Plaintiff s November 2021 Billing Statement

 
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as being inaccurate and higher than Plaintiff calculated as being owed on Plaintiffs

loan account. See Exhibit “E”, respectively.

25. Plaintiffs letter also advised the Defendant SPS that the Plaintiff would
forward Defendant SPS a Cashiers Check in the amount of $20,000 in an effort to
settle the disputed account. Additionally, the letter clearly advised Defendant SPS
that their acceptance of the $20,000 Cashier’s Check would be Defendant SPS’s tacit

agreement to settle the disputed account. See Exhibit “E.”

26. On or about December 17, 2021, Plaintiff received a letter from the
Defendant SPS advising the Plaintiff that they had received the Plaintiff s dispute
letter and settlement offer. Defendant SPS letter also advised Plaintiff that Plaintiff's

settlement offer would be addressed. See Exhibit “F.”

27. On or about December 17, 2021, after Plaintiffreceived Defendant SPS’s
acknowledgment letter, Plaintiff forwarded Defendant SPS the above-mentioned

Cashier’s Check in the amount of $20,000.00. See Exhibit “F”, respectively.

28. On or about December 24, 2021, Defendant SPS cashed the $20,000.00

cashier’s check. See Exhibit “G”, respectively.

29. On or about January 6, 2022, the Plaintiff forwarded to Defendant SPS a
letter thanking the Defendant for accepting Plaintiff's settlement offer for the
disputed debt. The letter also demanded a release of the lean on Plaintiffs home.

See Exhibit “H”, respectively.

 

 
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30. Upon information and belief, the Plaintiff entered into an Accord and

Satisfaction with the Defendant, SPS.

31. Upon information and belief, Defendant SPS has full authority, as per its

servicing agreement with Defendant Trust, to settle the Plaintiff's loan account.

32. The Plaintiffhas been damaged by Defendant SPS’s failure to release the
lien on Plaintiffs home after taking and keeping Plaintiff's $20,000 to settle the

disputed loan account.

COUNT ONE:
FAILURE TO HONOR SETTLEMENT AGREEMENT

33. Plaintiff hereby re-alleges and incorporates by reference each and every

allegation above, as if fully set forth verbatim herein.

34. Upon information and belief, Defendant Trust granted Defendant SPS full

authority to settle the Plaintiff's loan account.

35. Upon information and belief, Defendant SPS knew or should have known
that the Plaintiff disputed the accuracy of the loan account because of Plaintiff's
November 29, 2021 phone call to Defendant SPS, disputing the above-mentioned -

the additional $10,376.57 in unexplained fees.

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36. Upon information and belief, Defendant SPS knew or should have known
that the Plaintiff disputed the accuracy ofthe loan account via Plaintiffs December

1, 2021, dispute letter.

37. Upon information and belief, Defendant SPS bated the Plaintiff with its
December 17, 2021, letter that advised the Plaintiff that his dispute and settlement

offer would be sent to the appropriate authorities for review.

38. Plaintiffalleges that, upon information and belief, the Defendant SPS kept
the Plaintiff’ s $20,000 in bad faith fully knowing that the money was tendered as a

settlement offer on the Plaintiff's disputed loan account.

39. Asaresult of Defendant SPS’s failure to abide by terms of the agreement,
and by thekeeping of Plaintiff s $20,000 that was submitted as a settlement for the
disputed account, and by Defendant SPS’s failure release the lien on Plaintiff's
home, Plaintiffis entitled to have judgement in his favor, which includes, but is not

limited to, the release of the lien on the title to his home, damages, and court costs.

Respectfully submitted this day of November, 2022.

 

Daniel Jack
1185 To Lani Drive,
Stone Mountain, GA 30083

 
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EXHIBIT
°¢ A’ 9
 

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Filed and Recorded fus-03-2006 L0réee
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Georwia Insaneibie Tax Paid 8730.50
Linda Carter
Clerk ot Susariar Court
fetal Countuyr Gearsis

 

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Bosooke, MA25022 an nernnem 4
DEED TO SECURE DEBT
THIS DEED ts made this day of 24 __ uty. 2008 __, amnong the Grantor,

 

 

a SARE ~~

 

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i , Wachovia Baek. Mesoral Aascoation, a naflonal be .
organized and eg under the laws of the United Stairs ni eniene wroge address 1 Wachovia Bank,

Se ene Associaton, 301 Gouh Cohege Straat VA G3 tease ty ont, Carona 28288-0343 (reren
“Lender"}. so
WHEREAS, Borrower is indebted to Lender in the pring 2° <-" PE cree ee TST SP ee

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ime Deed and tre payment of any other oF fae RSS wet vet ona :
of the covers fore successors and assigns with power of sale ‘he OAD Property ‘ocatec
sated = INST: 16583 PAGE: 51
ee og/73106 BOOK! $

DEED DATE 03/29/06 RECORDED: re

PARCEL/T. aX 10 & {($22301383 Tweeono: CITY OF STONE MOUNT:

«SEE ATTACHED LEGAL DESCRIPTION®
LOT: TRACT B

 

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(herein "Property Address").

 

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TosetT ymprovernants perestier erected on the Property,
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arcane ots FS oO tt wid Property of eases SSS
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feed Sook BOOS Ps FOS

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal and interest. Borrower shell premplly pay when dus the principe! and interest

indebledness evidenced by the Note and ints charges ee provided ih the Nola. This Deed secures paynent
Of sald Note socording to iis terme, which are incorporated herein by reference.

2. Applicaton ef Payments. Untens applicable law provides otterwiee, aft payments received by Lander
under the tute and section 1 hereof shell be applied by Lender first to imterest dis on the Nate, second to he
principel due an the Note, and then to late charges due on the Note.

% Prior Deeds $0 Secure Debt, Mortgages and Deeds of Trust; Chemges; Liena. Borrower shel
perform alt of Borrower's obligations, under any security deed, mortgage, deed of trust ar other security
spreement with © Gen which nee priority over this Deed, including Sorower's covenents to make payments
when dus. Borrower shall pay or ceuse to bs peid ali taxes, sseeesmerts and clher charges, fines and
inpoetions atiriaaable t the Property which may ettain a priority aver this Deed, end isaeshold payments or
ground rents, Z any.

& arard ourance. a) Borrower shail keep the improvernents now existing or hereafter erected on the
Property ineured egainet love by fire, hasards included wlliin the term “extended coverage.” and eny other
hazards, induding but not imiled to foods, for which Lander requires insurance. This insurance shell be
maintained in the amounts and for the periods that Lender requires. The insurance cartier providing the
ineurance shell be chosen by Borrower subjed to Lender's approval which shall not be unressonsbly
withheld. ff Borrower fels to maintain coverage described above, Lender may, at Lender's opGon, contain
Coverage to protect Lender's rights in the Property in ancordance vith section 6.

b) Al insurance policies and renewals shall be acceptable to Lender end shall include a standard mortgages
Clauee. Lender shall have the right to hold te policies and renewals. if Lander requires, Borrower shall
promptly give to Lender ali receipts of paid premiums and renceel nolices. in the event of joss, Borrower
shall give prompl notice to the insurance cerrier and Lender. Lender may make proof of ines § not made
promptly by Borrower.

c) Uniess Lender and Borrower otherwise agree in writing, insurance proceeds shall be applied to restoration
or repair of the Properly damaged, if the restoration or repair 15 economically feasible and Lender's securtty i
nol lessened. if the restoration or repair is rot economically feasible or Lender's security would be wasened,
the insurance proceads shail be applied to the sums secured by thes Deed. «nether or not then dus, wih any
excess paid to Borrower. Wf Borrower abendons the Property or does Fo! ser ser aithir 30 days @ notice from
Lender thet the insurance cemer hes offered to eeflie @ claun, ia: wader mey oullect the neurance
proceeds. Lender may use te proceeds to repair or restore 7+ *~epety ce fo aay sums secured by thie

Deed, whether or not tren dus. The 30-day period will begin wf er is 3 are is Giver.

2) Except as provided in subsection 4{6} below, should paris! t's : ylCton or damage occur jo
the Property, Borrower hereby egrees that any end a8 Inetrs. 5 vu g +evanow proceeds rounived
by Lender es a result of seid damage or destruction, shall be pis: § Aven iyrest O8anD 2 escrow account

with Lender, Ai Lender's diacreton, Lender may release some «eH of be proceeds fom eacrow after
Borrower presents Lender with a raceipt(s), invoice(a), written estimates(s) or other document(s) acceptable
to Lender which relsles to the reper and/or improvements of the Property necessary a8 a result of seid

Borrower eny interest on the proceade held in the escrow account. Any amounts remaining in the account
aller al repairs and/or provements have bean made to Lender's satisfaction, shall be applied to the sums
secured by this Deed. Borrower further agrees to cooperate with Lender by endorsing ail checks, drefis
andor char insieumenis evidencing ineurance proceeds and any necessary documents. Should Borrower
fail to provide any required endorsement endior execution within 0 days after Lender sends Borrower notics
thet Lender has received an instrument evidencing steurance proceeds, or document(s) requiring Borrower's
signature, Sorrower hereby authorizes Longer to endorse said instument and/or document(s) on Gorawers
behalf, and cofect and apply ssid proceeds et Lender's optinn, either to restoration or repair of the Property
or tp sume ssouwred by fie Deed. it ls nol the intention of either party thei this escrow provision, and/or

Lender's endorsement or execution of en insirument{s} endior document(s) an behalf of Borrower creates 2
fiduciary or agency relefionship between Lander end Borrower.

@) Unless Lender and Sorrower ofhensise agree in writing, any application of procesde to principe! shall not
eadend or posipona the dus dale of the montty payments refered W in seciions 4 and 2 or change the
amount of he payments. © under section 16 Ihe Property is: scquired by Lender, Borrower'a right to any
ineurance policies end proceeds fresulling from damage to the Property prior to the acquieiion shell pass to
Lander ly the extent of ths sums secured by this Deed.

&. Preservetien and Maintenance of Property; Leseshelds; Condominkzms; Planned Unk
Davetopmenta. Borrower shall keep the Property in geod repair and shall n ot commit weate or perm
impasment ot deterioration of the ‘and shall comply with the provieions of any lsese df this Deed ts on
eteasshold. 1f this Deed ison a unitin a condominium ora planned unk development, Borrower shal
cedrucdath et Ghaneed ikea nnat be Detertien Gi tomrette seuing or phdtins, te
condominium or planned unit development, the by-laws end reguintions Condominium of planned

evelopment, end constant Gocumenis. 7 . at

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Deed SOK BFUOO Ps TOS

iheost from tha Gate of disbursement at the rate payable from lime to Ene on outstanding principal Unde
the Note uriees peyment of iverest at such rate would be cortrary 10 epplicable law. in which avant such
grnounts shed beer nierest at the highest rete permissible under appicabie law. Nothing contained in this
secton 6 shell require Lender to incur any expense or take any action hereunder.

7. inepection. Lender may make or cause to be made ressonabie envies upan and inepacsone of Fe
Property, provided that Lender shaft give Borrower notice prior io eny such inepection epecifying reenonchie
eause therefore related > Lender's interest in the Property.

Soe ane nevuby nesignad and shel ba paid to Lender subject to the termes of any morgage, deed
of trust or olver security agreement with 3 ken which hes priority over this Dead.

2 Borrower Not Released; Forbearance By Lender Not a Waiver. Bo-mawer hell remain fable for full
payment of fhe principal and intersel on the Note jor avy 2cuwa'eieni or abigation) secured hereby,
notwithetending any of the following: (#)the sale of afer a oe of “oe manweee; (b) Ihe aseumpton by
another party of Borrower's obligations hereunder, {c) tha Sniec 2 vx: cr exteesan Of time for payment or

of any obligation hereunder, whether graries i Tyytee UF a suBsequent owner of the
Property: and (c) the release of all or any part of the premanys tn", “0 -migatons or the release of any
parly who assumes payment of the same. Wong of the sc gue +, 2a! fo any way effect the full force and
ifort of the ben of this Deed or impair Lenders right fu. «tols.-r v.y ncxe vent {er the event of foreciosure)
aysinet Borrower or any perty assuming the obligations hers «vier “© - cant pemited by applicable tae.
Jany forbearance by Lender in axercaing any ogni or remens Serta, <° alparwise afforded by eppicable
lew, shall nol be & waiver of or preclude the exorcise af ery 5." Ap Oe eee,

40. Successors and Assigna Bound; Joint and Severai {ath iv “areegners. The covenants and

herein contained shai bind, and the rights hervuide: snail inure to, ihe reepectve successors
and assigns of Lender and Borrower, subject to the provissane of section 1 Shareol. All covenants and

of Borrower shail be jont and several. Any Borrawer who co-signs this Deed, but does not
erecta the Mote: (2) le co-signing thie Deed only to grant and convey thet Borrewer's interest in the Property
iD Lender undies the terms of this Deed: (b) is not personally Gable on the Note ar under this Deed: and (c}
agrees thet Lender and any other Borrower hereunder may agree lo extend, moxilly, forbewr, of mae Sy
ctrer accommodations wih regard to the terms of thie Deod or the Note withoul that Borrower's consent and
without releasing the: Borrower or modifying this Deed es to thet Borrower's interest in the Property.

14. Notice. Except for any notice required under applicable law t be given in another manner, (@) any
notice to Borrower provided for in the Deed shall be given by delivering or by mailing such noGce by first
class mel addressed fo Borrower or the current owner at the Property Address or et such other address 83
Borrower fay designese in wring by notice to Lander as provided herein, and eny other persane personaly
fable on the Nole as thelr names and addresses appeer in Landers records a1 ne iene of giving notice and
{b) eny nolice to Lender shall be given by firet clase mall to Lender's address at Wachovia Bank, Neon!
Association, Retei C redit S ervicing. P.O. Bax 50010, Roanoke, VA 2 4022 ar to such other addrees 8¢
Lender may designate by notce to Borrower as provided herein. Any notice provided for in tis Deed shall be
deerned to have been given to Borrower or Lender when given in the manner designated herein.

12. Governing Law, Severshility. The sinte and local imwe applicable (0 this Deed shall be the laws of the
jurisdiction In which the Property is iocated. ‘The foregoing sentence shal not imi the applicability of federal
law to this Deec. In ihe event thet any provision or clause of thie Deed or the Note conflcts wilh epplicebie
jew, euch conficte shell not affect other provieions of this Deed or the Note which can be given effect without
the conficing provision, and to this end the provisions of this Deed and the Note are deciared fo be
severable Aa used herein “costs.” “expenses” and “sttomeye’ fees” include all surns to the extent not
prohibited by applicable lew or limited horoin.

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43. Barrower's Copy. ecerowar shell be fumished o conformed copy of te Hoke, tie Deed and Féderts) ot
the time of execution or after recordalion hereof.

14. Rehabiitation Loan Agreement. Borrower shal Ail sll of Borrower's obligations under eny home

This Deed mey not be assumed by a purchaser without the Lender's consent. if an sseumnpton is allowed,
Tr 0nd rr ime ant sesurnpiion fee ard requre the person(s) eeeuring the foan to pay accion
cherges es authorized by law.

any other remedies permitted by applicable law. Lender shat! be entided to collect in euch
ary crctng aft expenses of foreclosure, including, Dut not Froited $0, stiarneys' fees eran! ie BEte
Hie {120) of the outstanding balance and all accrued Interest thereon, end costs of document

if Lander invokes the power of sale, Lender shail give to Botower {ana the owner of the Property, ifs

different person) notice of tale in the manner prescribed by eprvicabie lew. Lender shall give public notice of
sale by advertisement, in accordance with epplicanis iw. Lender, v4thout demand on Borrower, shail sall

Hee ey ty at pubs suction to the highest bidder for cas” at he inne and place under Ove terme designation
ie the notice of aele in one or more parcels and in such oscer as Lender mary determine. Lender or Leruder’s

designee may purchase the Property al any s8ie.

w the property ls soid pursuant to this section, Borrower or any person hokding possession of ihe Fruperly
thecach borower shell immodisiely surrender possesaion of the Property to the purchaser af such sss. &
Fesseasion ie not eurendered, Borrower Of SUCh person sil be « tenant hokding over end may be
dispossessed In accordance with applicable law.

47, Assignment of Surplus Proceeds; Rents; Appoiniment of Receiver. As addional seculy
hereunder, Borrower hereby assigns to Lender al surplus which mey come into the hands of the holder
Of any pri asnurty dead, merigage oF deed of ius! upon forecioaure of the same, hereby cect tet #8

rents of the Property inctuding those pest dus. ‘Al rents collected by the receiver shall be epplied frat to
payment of the costs of management of the Property end collection of rents, Including, bul not lrvtad fo
recoiver’s foes, promiume on recener'e bonds and anomeys’ fees equal 10 fifteen percent (16%) of the

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Seed Book ASCOO Ps FOE

cutsianding belanee and ef moorued intereal, and then to tre eumns secured by thie Deed. ‘The receiver shal
be table fo account only for those rents actunily received.

18. Loan Charges. I the loan secured by this Deed is extject to 5 taw which sets maximum iosn cheres,
and tral tew ie finaby interpreted eo that the interest or other ican cherges collected or in be collected In
connection with the loan exceed permitied finite, then: (9) eny such loan charge shell be reduced by the
emount necessary to reduce the charge fo the permitted Imi end (b) any sume siready collected from
Borrower which exceeded permitted Umits wil be refunded to Borrower. Lender may choque to meke this
refund by ceducing te principal owed under the Note or by mailing 0 direct payment to Borrower. # 8 refund
reduces principal, the reduction wil bs treated es a pertel prepeyment under the Note.

19. Legielation. if, afar the date hereof, enackent or expiration of applicable laws have fhe effect either of
rendering the provisions of the Note, this Deed or any Rider, unenforceable according le their lerme, or all or
any part of the sums secured hereby uncollectible, as otherwise provided in this Deed or ® Note, or of
diminishing the value of Lender's eecurtty, then Lender, af Lender's option, may declare of eums secured by
Gis Dead to be immediately due and payable.

20. Release. Upon payment of eff sums secured by this Deed, fis Deed shall become nual and void and
Lender shell re-esec this Deed. ¥f Lender ia requested to release this Deed, ail instruments #vidancing
‘satiefackon of the indebtedness secured by this Deed shell be surrendered ta Lender. Borrower ehal pay ait
costs of recordation, # any. ‘Lander, at Lender's option, may aliow a partial releese of the Property on terme
acceptable to Lander and Lender may charge a release fee.

21. Waiver of Homestead. Borrower hereby welves ell right of homestead exemption (9 the Property.

22. Hazardous Substances. Borrower shall not cause or perm’ the presence, use, @apocal, storage, or

: teleaes of any Hazardous Substances on or in the Property. Borrower shall not do, nor allow anyone etee fo

60, anything sflecting the Property that is in voistion of any Environmental Law. The preceding wo

| sentences shell not apply to the presence, use, or storage on the Property of email quanilies of Hazerdous
Substences fie: ere generally recognized to be appropriste to normal residential uses and to maintenance of
the Property.

: Sorrower shall prompéy give Lender writen oobre Of any sy ee conor, dain, ae eaadon omer
action Qavemmental or reguietory agency oF prvate: part ineciviny thee Property any

Santee Crcronmmartel Law of wirsch Borrower has ac0s59 (Ate e2 'f Borrower fears, or is noted

by ery govemmental or regualory authorly, that ary recov, or other remediation of eny Hazardous
Substance affecting the Property is necessary. Borrower shall pra olty taxe ali necessary remedial actions in
accordance wil: Environmental Law.

Deed to Secure Debt. T his conveyance isto be construed under the existing tawe of the State of
Deore as a eecurty deed pessing ile, and nol aa a morigegs. and is intended to secure the payment of af
sums secured hereby.

/
protection.
23 Assumption Not a Novation. Lender's stceptance of sn sseumption of the obligations of this Deed
ond the Note, end any relesee of Borrower In connection therewith shell not constitute a novetion.
C2318) few 1) 8 (2H OA Deed @ Conse Datt

 
 

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REQUEST FOR NOTICE OF DEFAULT AND FORECLOSURE
UNDER SUPERIOR MORTGAGES OR SECURITY DEEDS

{_—] 8 checked, thia inetrument is second only to that certain security deed in favor of
andior currerdly being serviced by MERS Bh on SCS WO
detest

in Deed Book ____ 16878. pags 480 ren et County,
Georgia records, and it is agreed that any deleut under anid prior security deed(s) may al the option of
Lender herein or its successor in tile be declared and deemed to be a default under the terme of the wéihin
instrument. Lender shell have the right but not the obdfigation to make advances to the holder of any prior
security deed noted above or otherwise in order bo cure any default thereunder, and eny advances ea made
shell be governed by the provisions of section 6 hereunder. Surrower herety assigns and authorizes
payment to Lender herein end its successors in iille of any surplus Sunde arising from thes fovecioeure of said
prior securily deed(s).

Borrower and Lender request the holder of any security deed, mortgage, deed of rust or other encumbrance
with @ en which hes priority over this eed to give Notigs to Lender, at Lender's eddrees ef Wachovie Bank,
Nationa! Association, Relel Creda Servicing, P.O. Box 50010, Roanoke, VA 24022 of eny deteult under the
superior encumbrance and of any sale or other foreciosure action.

BORROWER HEREBY WAIVES ANY RIGHT BORROWER MAY HAVE UNDER THE CONSTITUTION
OF THE STATE OF GEORGIA OR THE CONSTITUTION OF THE UNITED STATES OF AMERICA TO
NOTICE OR TO A JUDICIAL HEARING PRIOR TO THE EXERCISE OF ANY RIGHT OR REMEDY
PROVIDED TO LENOER HEREUNDER BY THIS DEED, AND BORROWER WAIVES BORROWER'S
RIGHTS, F ANY, TO SET ASIDE OR INVALIDATE ANY SALE UNDER POWER DULY
CONSUMMATED IN ACCORDANCE WITH THE PROVISION OF THIS DEED ON THE GROUND (iF

 

 

 

BEEN AFFORDED AN OPPORTUNITY TO 86 INFORMED BY COUNSEL OF BORROWER'S CHOICE
43 TO THE MEANING AND EFFECT HEREOF.

IN WITNESS WHEREOF, Borrower hes executed end seated this Cend end acoptet as his seal the word

“(SEALS eppearing besiie his reme and by such executon ne accents fw agrees © he termes and
ined in this Deed and in any Rider(s) execuled by Burund ac: acorvec herewtih.

ww eu
foro.

Winese
Lise H anenuald

Witness Name Printed or Typed

 

 

Witness

 

 

‘Witness Name Typed or Printed
STATE OF )

COUNTY OF
On dete) 1 4/o _____ before me parsonaily appeared

 

 

 

 

 

 

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Case 1:22-cv-01575-VMC Document 20 Filed 11/07/22 Page 16 of 30

EXHIBIT
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gage. YOU MAY CONTACT YOUR

_ p

loan. It is that

tunding Trust 2020-PM2, Al correspondence. and
) your servicer. The servicer has authority to act on
in and respond to any questions about your mortgage

5 | nat al é less than the full amount due (partial payments) and apply them to your loan.

a!

tne tul\ payment to

 

a separate account until you pay the rest of the payment, and then app

 

   

ee nd i to contact oC
eerie th Floor, New York, New York 10022 or you may felepnons

fe nsfer of your aes 7 |

The assignment, sie Or of ownership of your , yres the Note conti pert

art ore, Te rare tongs bend dca hos een wee
of public land records OF

ated. “a

  
 
  
 

 

Case 1:22-cv-01575-VMC Document 20 Filed 11/07/22 Page 18 of 30

EXHIBIT

“eC”

 

 
 

 

  
  

SPS!

PAYOFF STATEMENT

Oate: September 13, 2021
Requested By:

CUSTOMER
1185 TO LANI DR
STONE MOUNTAIN, GA 30083

@ spservicing.com

Account Number, 0026612638

Case 1:22-cy-01575-VMC Document 20 Filed 11/07/22 _Page 19 of 30
408 an LTE

3

Payment Due Date: September 15, 2021
This Statement expires or
October 13, 202

 

Customer Name/Property Address:
DANIEL t. JACK
ROSA JACK
1185 TO LAN! DR
_ STONE MOUNTAIN. GA 30083

THE FOLLOWING AMOUNTS ARE SUBJECT TO FINAL VERIFICATION
BASED ON THE RECEIPT OF FUNDS

 

 

 

 

 

 

: FTEMIZATION i

: Unpaid Principal Balance | $ 189,399.68
| interest Calculated to October 13, 2021 i$ 1,042.08
{ Loan Level Advance Balance 'g 10,172.23
interest on Advances i $ 144,33
Recording Fee :$ 25.00
_.

i

‘ Total Amounts Due Under your Note and Mortgage 8 __ 200,783.32
: Per Diem Daily interest i $ 17.81
{ '

| TOTAL AMOUNT OUE ‘$ |__ 200,783.32

 

 

 

IMPORTANT INFORMATION REGARDING THE ACCOUNT PAYOFF:

Pages

1) Clearance of Funds: The Payoff Statement assumes thet payments made on your account ha

re aaron Coan troche aaaaeaaaS
that amount, even though we accept your pa'

. You are ait responsible to ¢

 

 
 

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EXHIBIT
**T)”’
Case ii 225 CV -01575- MC Document 20 Filed 11/07/22 Page 21 of 30

 

P.O. Box ge Statement.
Peele Sat Lae Cy, UT 04106-0280 Statement Date: 11/29/2021
inc, wreneepeervicieg com Page 1 of 3
(800) 258-8602
Mondays Thudey 8:00AM - 11:00PM ET
Friday 8:00AM ~- 9:00PM ET
Saturday 8:00AM- 2:00PM ET
For other important informetion, see reverse side
@ 204OLS) gonon2e7e 1o8, = Pz Account Number 0028612638
. Property Addi 1186 TO LANI DR
Re rie yon om one STONE MOUNTAIN GA 30063
1185 To Lani Dr
Stone Min, GA 30083-5361 is Sarat Oe ats joes

 

peqepg Rofl y pend grn gy Hog go ff gh pa ffgeg tad gy bagedago ff Gfldygy|se Amount Due $1,042.46

 

 

 

 

ea siete = inion i .91
Interest Bearing Principal 64,770. eerow (Taxes and Insurance) P00
Deferred Principal $3,127.38 Reguiar Monthly Payment —=S*S*~S~S~*«S «DS
Outstanding Principal * $187,697.81 Charges /Fees this Period $30.23

Unpald Late Charges $0.00 Past Due Payment(s) $0.00

Other Charges and Fees $10,376.57 Unapplied Payment(s) ep
Wapertlenthc nile ne Total Amount Due $1,062.46

 

 

 

 

 

 

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(Lo) ooo 9.00

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02.08 0.38 o.00 9.00
1445 NSF REVERSAL ooo 0.00 00 ooo 1,042.46 9.00 a00 1,982.48
Continued On Next Page

 

Paid Year
To Date

$6,580.50

$0.00
$180.16

$12,749.68

    
 
 
 
 
 
 
    

All communication sent to you by SPS is always available on our website: www.speervicing.com. For faster access to writtan communication and
documents, please log in to your customer account on our website to view.

‘This amount la not a payoff quote. If you would like a payoff quote, please see inatructions on reverse skle.
Any transactions that occurred after the statement date noted above will be reflected on your next statement.
This Ie an attempt to collect a debt. All information obtained will be used for that purpose.

if there is a balance under Expenses Pald by Servicer, It means we have paid certain expenses on your behalf due to the delinquent status of your
account. You are responsible to reimburse us for these amounts plus intereel, which may be bifed at the note rate.

The Outstanding Principal balance inctudes the Interest Bearing Principal balance and the Deferred Principal balance. The Deferred Principal belance
ts not subject to the charged Interest rate and will be due as a finel balloon payment on the earller of (8) payoff of the Interest Bearing Principal
balance, or (b) maturity date of the mortgage loan.

NN Ee a ee nee Se Ta ee een ee acca Oy you may be eligible for certain protectione

 

 

Please detach bottom portion and return with your payment. Allow 7 - 10 days for pootel delivery. Pleage do not send cash.
MONTHLY PAYMENT COUPON

Make checks payable to: Select Portfollo Servicing

 

 

 

 

 

 

 

 

 

 

Monthly Payment i
Account Number 0028612638
" Additional Princpal «=f
Que By 12/15/2021: $1
2 $1042 #8 Additional Escrow 5
Late Fees =
Other (Please Specify) §
SELECT PORTFOLIO SERVICING, INC.
PO BOX 65450
SALT LAKE CITY UT 84185-0450
Total Amount Enclosed $ .

 

 

 

Change of address or telephone? If s0, check here and

nole changes on back
2771 0024612658 DOOOLO424E OO001L04e24L O

 
 

 

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EXHIBIT

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December 1, 2021

Daniel L. Jack & Rosa Jack
1185 To Lani Drive
Stone Mountain, GA 30083

Sclect Portfolio Servicing, Inc.
Post Office Box 65250
Salt Lake City, UT 84165-0250

RE: Dispute of the balance on loan Acc. No.0028612638
Dear Select Portfolio Servicing, Inc.

On or about September 13, 2021, I received a payoff statement from you that
advised that the total amounts due under my Note and Mortgage was $200,873.32.
However, my most recent billing statement from you, dated 1 1/29/2021, advises that
the total amount dueunder my Note and Mortgage is $ 198,274.38.

I dispute the balance of $198,274.38 for my loan account as being inaccurate and
higher than the actual amount! owe on the loan. Accordingly, since I dispute the
accuracy ofthe current stated balance of my loan account as being $198,274.38, I
am forwarding you a Cashiers check in the amount of $20,000.00 as a full and final
settlement ofthe above disputed amount. Your execution of this check is your tacit
agreement to settle the above-mentioned account.

Thanking you in advance,
Sincerely,

 
 

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EXHIBIT

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Case 1 4qG@o OMS Document 20 Filed 11/07/20 Fgoe 25 of 30

& spservicing.com ©

SEI. FCI
SPS: SERN ICING 1m $
December 17, 2021

BE OANIEL 1 JACK

ROSA JACK
1185 TO LANI OR
STONE MTN, GA
Account Number: 0023612638
Customer Neme: DANIEL L JACK
ROSA JACK
Property Address: 1185 TG LANI DOR

STONE MOUNTAIN. GA 30083
Deer DANIEL L JACK:

SPS recelred your recent inquayiles) on 12/16/2021. We wii review your requestis) and roule two the
appropriste department for venven response is required, one will be provided lo you within 30 days from
the date we received your inquiry(ies

See aa ete neende Fine conte ote ain gr ccd ns al cinamore
special repayment Slane, or loan modifications if you ae

may include structured Plans, or loan

experiencing a fru aman erongemenss,souclred repayment plane. loan modiication I you ae

your situation and options that may be available to you.

At SPS. ary of ow Customer Care Experts can assist you wid aruwere to your questions abo We status or
iny qualia or concer, poses contact SPS. Our tlie cunber te 800-258-8602 and reprem
any questions or concems. please SPS. Ow mumber is 800-258-8002 and representatives are
available Monday ‘through Thursday between the hours of 8 a.m. and 11 p.m, Fnday from 8 am. 6 9 pom.,
and Saharday from 6 a.m. to 2 p.m.. Esstem Time.
Sincerely,
Selact Portfolio Servicing. inc.

Este carta contiens informacion importante concerniente a sus derechos. Por fevor. traduzca esta

carta. Nuestros estén a cualquier pregunta.
Eien camer 80-21-0148 y setcnonabtrs oops 2
This Wesk fon fe & ded for ink ona! purp only and is not censidered an attempt to
collect a debt.

 

 

 
 

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EXHIBIT

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Wells F argo PhotoCopy
Request

Date: January 11, 2022

Reference: 1002709451520: 1002709451520: 1002709427522

Page I of 2

 

   

6700801291

CASHIER'S CHECK»

met, Ok

PAY TOTHE ORDER OF **SELECT PORTFOLIO SERVICING, INC**

“Twenty Thousand and 00/100 -US Dollars **....¥ “ier.
. - i. ee

Paye Acidenaa:
Mame

 

: WELLS FARGO WA
{ 2am3 @LENWOOD AVE GE

| ATLANTA, QA 20318

| FOR INQUIRIES GALL (400) 994-9122

 

 

  
 
    
   

 
 

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13

 

Processing Date 20211221
Amount 20000.00
Check Number 6700801291

R/T Number 10700543
Sequence Number 8519642186
Account Number 4861513315

 

 

 

 
 

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EXHIBIT

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Case 1:22-cv-01575-VMC Document 20 Filed 11/07/22 Page 29 of 30

January 6, 2022

Daniel L. Jack & Rosa Jack
1185 To Lani Drive

Stone Mountain, GA 30083

Select Portfolio Servicing, Inc.

Post Office Box 65250

Salt Lake City, UT 84165-0250

RE: Demand for Release of Lien on Loan Acc. No.0028612638

Dear Select Portfolio Servicing, Inc.,

On or about December 1, 2021, we forwarded you letter advising that we
disputed the balance of our loan account as being inaccurate and higher than the
actual amount we owed. The November 29, 2021 billing statement, from you,
indicated that our account balance was $ 198,274.38. Accordingly, our letter advised
you that we would forward you a cashier’s check in the amount of $20,000.00 as a
full and final settlement to settle the disputed debt amount of $198,274.38,
Additionally, and more sp ecifically, our letter advised you that your execution of
this check is your tacit agreement to settle the above-mentioned account. See copy
of Letter. On or about December 10, 2021, we forwarded you a cashier’ s check in
the amount of $20,000.00, which you subsequently cashed on or about December
25, 2021. Accordingly, we thank for your acceptance of our settlement offer and
therefore demand that you file the release of lien within 30 days of receipt of this
letter.

 

 
 

 

Case 1:22-cv-01575-VMC Document 20 Filed 11/07/22 Page 30 of 30

Certificate of Service

I, the undersigned, certify that Ihave delivered the foregoing document by U.S. mail

prepaid first class to the attorneys or persons located at the addresses below:

Parties:

BRET J. CHANESS (GA Bar No. 720572)
PATTY WHITEHEAD (GA Bar No. 258296)
RUBIN LUBLIN, LLC

3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071

(678) 281-2730 (Telephone)

(470) 508-9203 (Facsimile)
bchaness@rlselaw.com
pwhitehead@rlselaw.com

Attorneys for Select Portfolio Servicing, Inc.

This 7“ day of November, 2022.

  
  

Daniel Jack
1185 To Lanf Drive,
Stone Mountain, GA 30083

 
